The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS

JS 44 (Rev. 04/21)

Association of American Railroads See attachment
County of Residence of First Listed Defendant Franklin County, Ohio
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(b) County of Residence of First Listed Plaintiff Washington, D.C.
(EXCEPT IN U.S. PLAINTIFF CASES)
NOTE:

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)

See attachment Not known
II. BASIS OF JURISDICTION (Place an “X” in One Box Only) II. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
LE] 1 U.S. Government [x]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State C] 1 LE 1 Incorporated or Principal Place C 4 C] 4
of Business In This State
C 2 U.S. Government 4 Diversity Citizen of Another State LC] 2 CL 2 Incorporated and Principal Place CE] 5 LJ 5
Defendant (Indicate Citizenship of Parties in Item IID) of Business In Another State
Citizen or Subject of a CE] 3 C] 3 Foreign Nation LJ 6 fh 6
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
[ CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY | ]625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane CL 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | |690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability L] 367 Health Care/ INTELLECTUAL 400 State Reapportionment
LJ 150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury [] 820 Copyrights 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
H 152 Recovery of Defaulted Liability C] 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability | 840 Trademark Corrupt Organizations
CE] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR [| 880 Defend Trade Secrets | | 480 Consumer Credit
__ of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
|_| 160 Stockholders’ Suits 355 Motor Vehicle H 371 Truth in Lending Act | | 485 Telephone Consumer
[| 190 Other Contract Product Liability [| 380 Other Personal | 720 Labor/Management SOCIAL SECURITY Protection Act
[ | 195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV

A

Other:

540 Mandamus & Other

550 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of

Employment

446 Amer. w/Disabilities -
Other

448 Education

462 Naturalization Application
465 Other Immigration
Actions

Confinement

| 196 Franchise Injury L] 385 Property Damage -S Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) |__ Exchange
Medical Malpractice Leave Act 864 SSID Title XVI |_| 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS 790 Other Labor Litigation L | 865 RSI (405(g)) || 891 Agricultural Acts
|_|210 Land Condemnation 440 Other Civil Rights Habeas Corpus: | _]791 Employee Retirement | | 893 Environmental Matters
[| 220 Foreclosure 441 Voting | | 463 Alien Detainee Income Security Act RAL SUITS 895 Freedom of Information
(| 230 Rent Lease & Ejectment 442 Employment | | 510 Motions to Vacate {| 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
L| 245 Tort Product Liability Accommodations [ | 530 General | 871 IRS—Third Party | 899 Administrative Procedure
[_] 290 All Other Real Property 445 Amer. w/Disabilities -[/_] 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of

Agency Decision
950 Constitutionality of
State Statutes

Lx]

V. ORIGIN (Place an “X” in One Box Only)

| Original
EH] Proceeding

Li Removed from
State Court

Remanded from
Appellate Court

C13

4 Reinstated or 5 Transferred from
O O Another District

(specify)

Reopened

Transfer

6 Multidistrict
Litigation -

8 Multidistrict
Litigation -
Direct File

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
45 U.S.C. § 797; 49 U.S.C. § 10501(b); 49 U.S.C. § 20106

Brief description of cause:

Plaintiff seeks a declaration and injunction preventing Defendants from enforcing Ohio Rev. Code § 4999.09

VII. REQUESTED IN [_] CHECK IF THIS IS A CLASS ACTION DEMAND §$ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. N/A JURY DEMAND: Llyes [¥]No
VIII. RELATED CASE(S)
(See instructions):
IF ANY JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
Jun 29, 2023 /s/ Jonathan N. Olivito
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

EASTERN DIVISION
ASSOCIATION OF AMERICAN RAILROADS, Case No.
Plaintiff, Judge
V. Magistrate Judge

DAVE YOST,
Ohio Attorney General, et al.,

Defendants.

ATTACHMENT TO THE CIVIL COVER SHEET

Attorneys for Plaintiff

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Washington, DC 20036

Phone: (202) 955-8500

* Pro Hac Vice applications forthcoming

Counsel for Plaintiff Association of American Railroads

Defendants
Ohio Attorney General: Yost, Dave.

Commissioners of the Ohio Public Utilities Commission: French, Jenifer; Conway, Daniel R.;
Deters, Dennis P.; Friedeman, Lawrence K.; Williams, John D.
